        Case 2:13-cr-00272-KJM Document 42 Filed 01/17/14 Page 1 of 2


 1   DONALD H. HELLER, SBN 55717
     DONALD H. HELLER,
 2   A Law Corporation
 3   3638 American River Drive
     Sacramento, CA 95864
 4   Telephone: (916) 974-3500
     Facsimile: (916) 520-3497
 5   E-Mail: dheller@donaldhellerlaw.com
 6   Attorneys for Defendant Safia Ahmed
 7

 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                          Case No. 2:13-cr-00272-KJM
12            Plaintiff,
13                                                     STIPULATION AND PROPOSED ORDER
            vs.                                        TO REMOVE CONDITION 3 OF THE
14
                                                       PREVIOUSLY IMPOSED CONDITIONS OF
15                                                     RELEASE
      JOSEPH NKUNZI, SAFIA AHMED, et
16   al.,
17
            Defendants.
18

19                  IT IS HEREBY STIPULATED, by and between Assistant United States

20   Attorney Michele Beckwith, counsel for the plaintiff United States of America, and Defendant

21   Safia Ahmed by and through her attorney Donald H. Heller to remove Condition 3, as reflected in

22   Document 18 filed on September 4, 2013. Condition 3 provides, “You are released to the third-

23   party custody of Rahma Asiedu and you shall reside with her unless authorized by Pretrial

24   Services to move.’’

25          The basis for this stipulation is that the defendant has been fully compliant with all of her

26   conditions of release and traveled to Sacramento for a court appearance without any issues.

27   Defendant’s Seattle Pretrial Services Officers Mark K. Okano and Taifa Gaskins have found the

28   defendant fully compliant with all of her conditions of release and do not object to the removal of
                                                      1
        Case 2:13-cr-00272-KJM Document 42 Filed 01/17/14 Page 2 of 2


 1   the condition as stated here in.
 2          It is further stipulated and agreed that all remaining conditions of release shall remain in
 3   full force and effect. The parties agree that based on the defendant’s full compliance with all of
 4   her conditions of release that the conditions of release and the secured bonds in effect will “ . . .
 5   will reasonably assure the appearance of [Ms. Ahmed] as required”. 18 U.S.C. § 3142.
 6

 7

 8          Dated: January 16, 2014
 9
                                                    BENJAMIN B. WAGNER
10                                                  United States Attorney
11

12                                                  /s/ Michele Beckwith
13                                                  Michele Beckwith
                                                    Assistant U.S. Attorney
14

15                                                  /s/ Donald H. Heller
                                                    Attorney for Defendant
16                                                  Safia Ahmed
17

18                                                 ORDER
19
            Based upon the representations of counsel and the stipulation of the parties, Good Cause
20
     Appearing, IT IS HEREBY ORDERED that: the Condition set forth in Paragraphs 3 of the
21
     Conditions of Release as fully described above is hereby removed and all remaining conditions
22

23   shall remain in full force and effect.

24

25          IT IS SO ORDERED.
26
     Dated: January 17 , 2014
27                                                          Hon. Edmund F. Brennan
                                                            U.S. Magistrate Judge
28
                                                        2
